            Case 3:23-cv-00459-VC Document 72 Filed 05/11/23 Page 1 of 9




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                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


Christine Whalen, et al.,                        Case No.: 23-cv-00459-VC


               Plaintiffs,                           OPPOSITION TO ALBERTSONS’
                                                         MOTION TO DISMISS
       v.

                                                 Hearing Date:   July 27, 2023
Kroger Co., Albertsons Companies, Inc.,          Time:           10:00 AM
and Cerberus Capital Management, L.P.,           Place:          Courtroom 4, 17th Floor
               Defendants.                       Judge:          Honorable Vince Chhabria

                                                 Complaint Filed: February 2, 2023




    PLAINTIFFS’ OPPOSITION TO MOTION OF DEFENDANT ALBERTSONS
                              COMPANIES, INC. TO DISMISS

       Plaintiffs oppose ALBERTSONS COMPANIES, INC.’S Motion to Dismiss on the
same grounds as are set forth in Plaintiffs’ Memorandum in Opposition to the Motion of



                                             1
                   PLAINTIFFS’ OPPOSITION TO ALBERTSONS’ MOTION TO DISMISS
          Case 3:23-cv-00459-VC Document 72 Filed 05/11/23 Page 2 of 9




Defendant Kroger Co. to Dismiss which is filed concurrently herewith and which Plaintiffs
incorporate in full herein by reference.

       In addition, Plaintiffs submit the following points and authorities in support of their
Section 1 claim for violation of the Sherman Act.

                 PLAINTIFFS HAVE ALLEGED A VIOLATION OF
    SECTION 1 OF THE SHERMAN ACT AND ARE ENTITLED TO DISGORGEMENT

       In addition to the violation of Section 7 of the Clayton Act in which grocery store

customers, actual and potential, are threatened with the probability that prices may be increased

and services decreased, the Plaintiﬀs have also alleged that Defendant Albertsons and Defendant

Kroger, along with the principal investor in Albertsons, Defendant Cerberus, violated Section 1

of the Sherman Act by agreeing that Albertsons had to pay a $4 Billion dividend to its

shareholders with the purpose and eﬀect of weakening Albertsons’ ability to compete so that it

will be forced to merge with Kroger.

       dis agreement, which constitutes a Sherman Act violation, is in writing. Plaintiﬀs allege

that the merger agreement itself, which contains the agreement between Albertson and Kroger to

pay the $4 Billion dividend, is the contract, combination and conspiracy in restraint of trade and

that the purpose of the agreement to pay the dividend was to weaken Albertsons so that it would

be forced to consummate the merger with Kroger. (Compl., at ¶ ¶ 84-86.) To the extent that this

dividend has been paid, the remedy now is for this dividend payment to be disgorged.

       de special $4 billion dividend that has been paid to Albertsons shareholders - primarily

to Defendant Cerberus – is an integral part of the merger agreement between Albertsons and

Kroger and it is this written merger agreement that forms the basis of the agreement in restraint

of trade in violation of Section 1 of the Sherman Act.

                                                 2
                   PLAINTIFFS’ OPPOSITION TO ALBERTSONS’ MOTION TO DISMISS
          Case 3:23-cv-00459-VC Document 72 Filed 05/11/23 Page 3 of 9




       The Defendants’ agreement to pay the illegal dividend is found at page 30, Article

2.1 of the Defendants’ merger agreement :

       “The Distribution may be effected by virtue of the Merger or by way of dividend or
       other distribution (including as contemplated pursuant to the Trust Agreement and
       Grant of Trust), in each case as the Company may elect following good faith
       consultation with Parent, taking into consideration any adverse impact such
       distribution may have on Parent (including the Surviving Corporation) following the
       Effective Time, and to the extent such distribution is reasonably likely to have an
       adverse impact, the foregoing shall be subject to Parent’s consent (such consent not
       to be unreasonably withheld, conditioned or delayed). For the avoidance of doubt,
       the Distribution shall be made with respect to the shares of Company Common Stock
       and the shares of the Company Preferred Stock and not the Company Equity Awards.
       Notwithstanding anything in this Agreement to the contrary, Parent and the Company
       shall not be obligated to consummate the Distribution . . .”


       In Pennsylvania Sugar Reﬁnery v. American Sugar Reﬁning Company, 166 F. 254 (SDNY

1908), the defendants’ trust bought shares in a major competitor’s company. de defendants

voted themselves on the board of directors of the competitor and then voted to shut it down,

shuttering the competitor’s plant. de Court concluded that this act constituted an agreement in

violation of the antitrust laws and in violation of the defendants’ ﬁduciary duties. de court

awarded the competitor company over $30 Million in damages.

       de Defendants in this case claim that disgorgement is not permitted under the law. But it

has been recognized as far back as Zenith and reconﬁrmed by American Stores that the power

granted by the Courts to individual plaintiﬀs under the Clayton Act allows them access to the full

extent of the courts’ equitable relief, including divestiture, disgorgement and even dissolution.

Indeed, the Supreme Court has continually encouraged private parties to question the

anticompetitive eﬀects of the mega-mergers.

       Disgorgement is the remedy that is accorded to private plaintiﬀs to restore the status quo.

de Defendants should not proﬁt from their illegal conduct and disgorgement will ensure that
                                               3
                   PLAINTIFFS’ OPPOSITION TO ALBERTSONS’ MOTION TO DISMISS
             Case 3:23-cv-00459-VC Document 72 Filed 05/11/23 Page 4 of 9




will not happen. Liu v. Securities and Exchange Commission, 140 S. Ct. 1936 (2020). de $4

Billion dollars must be disgorged by those who received it, and it must be returned to Albertsons

and / or paid to the Treasury of the United States.

       This Court is empowered to grant the equitable relief of disgorgement sought by

Plaintiffs. This right falls squarely within this Court’s inherent powers and is authorized by

Section 7.

       District Courts may, in their discretion, exercise all inherent equitable powers that “are

available for the proper and complete exercise of that jurisdiction,” except where prohibited

by statute. Liu v. Securities and Exchange Commission, 140 S. Ct. 1936, 1946-47 (2020)

(quoting Porter v. Warner Holding Co., 328 U.S. 395, 398 (1946)). Among those powers,

“equity practice [has] long authorized courts to strip wrongdoers of their ill-gotten gains.” Liu,

140 S. Ct. at 1942.

       Disgorgement restores “the status quo, thus situating the remedy squarely

within the heartland of equity.” Liu, 140 S. Ct. at 1943 (quotation marks and citation omitted).

       This remedy is available to the Court, “unless otherwise provided by statute.” Id. at

1946–47 (citing Porter, 328 U.S. at 398) (“[T]he comprehensiveness of this equitable

jurisdiction is not to be denied or limited in the absence of a clear and valid legislative

command”). There is no such statutory prohibition here.

       In California v. American Stores, 495 U.S 271, at 281 (1990) the Supreme Court held

“§16 ‘states no restrictions or exceptions to the forms of injunctive relief a private plaintiff may

seek, or that a court may order. . . . Rather, the statutory language indicates Congress' intention

that traditional principles of equity govern the grant of injunctive relief.’” (Citation Omitted.)



                                                  4
                   PLAINTIFFS’ OPPOSITION TO ALBERTSONS’ MOTION TO DISMISS
           Case 3:23-cv-00459-VC Document 72 Filed 05/11/23 Page 5 of 9




        Moreover, in United States v. Paramount Pictures, 334 U.S. 131, 171-72 (1948) (the

Supreme Court held that injunctions to deprive the defendant of the fruits of its anticompetitive

conduct should include injunctions ordering the defendant to divest property “if the property was

acquired as a result of practices which constitute unreasonable restraints of trade. . . . . [T]he

requirement that the defendants restore what they unlawfully obtained is no more punishment

than the familiar remedy of restitution.”) See also United States v. United Shoe Machinery

Corp., 391 U.S. 244, 250 (1968) (the Court stated: “It is of course established that, in a § 2 case,

upon appropriate findings of violation, it is the duty of the court to prescribe relief which will . . .

deny to the defendant the fruits of its statutory violation. . . .”); United States v. Grinnell, 384

U.S. 563, 577 (1966) (the Court held that “adequate relief in a monopolization case should . . .

deprive the defendants of any of the benefits of the illegal conduct . . . .”); Schine Chain

Theatres, Inc. v. United States, 334 U.S. 110, 128–29 (1948) (equitable relief functions include:

“It deprives the antitrust defendants of the benefits of their conspiracy.”); United States v.

Microsoft, 253 F.3d 34, 103 (D.C. Cir. 2001) (en banc) (“[A] remedies decree in an antitrust case

must seek to . . . ‘deny to the defendant the fruits of its statutory violation . . . .’”).

        Furthermore, there is no doubt that equitable antitrust remedies include requiring

violators to disgorge any illegally obtained profits or payments. In fact, this Court in a case

presided over by the Hon. Susan Illston, has already recognized disgorgement as an available

antitrust remedy. See TFT-LCD (Flat Panel) Antitrust Litig., No. C 10-4346 SI, 2011 U.S. Dist.

LEXIS 76562, 2011 WL 2790179, at *4 (N.D.Cal. July 12, 2011) (recognizing state government

enforcement actions seeking disgorgement when authorized by state law).

        In fact, scholarship agrees that disgorgement is authorized under the law. Philip Areeda

and Herbert Hovenkamp, two of the most distinguished antitrust scholars, unequivocally state

                                                     5
                    PLAINTIFFS’ OPPOSITION TO ALBERTSONS’ MOTION TO DISMISS
          Case 3:23-cv-00459-VC Document 72 Filed 05/11/23 Page 6 of 9




that “Equity relief may include . . the disgorgement of improperly attained gains.” 2A Philip E.

Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their

Application, Paragraph 325a (3d ed. 2006).

       The disgorgement relief in this case is sought for the benefit the general public as a

whole. “The primary purpose of disgorgement is not to compensate [victims] ... [but rather to]

forc[e] a defendant to give up the amount by which he was unjustly enriched.” U.S. v. KeySpan

Corp. 763 F. Supp 2d 633 (SDNY 2011).

       Further, disgorgement supports the goal of restraining future violations. See U.S. v

Carson, 52 F.3d 1173, 1182 (2d Cir. 1995) where disgorgement was found to be appropriate

where “the funds are being used to fund or promote the illegal conduct or constitute capital

available for that purpose”.

       Defendants argue that the question of the $4 Billion dividend is moot because the

dividend has been paid and because the issue of whether an injunction should issue to

prohibit the payment of the dividend has already been considered and denied by two

separate courts. However, those courts did not consider the issue of the dividend in the

context of the Sherman Act violation alleged here as part and parcel and in furtherance of

the Clayton Act violation, and, in any case, the fact that other courts have refused to act to

enjoin the dividend does not reach the issue of whether the payment should now be

disgorged by these Defendants.

       de defendants claim that the dividend payment is a wholly innocent act, and, as such,

may not support a cause of action for violation of Section 1 of the Sherman Act and that other

cases have not been successful in their quest to enjoin the payment of the dividend. But even

wholly innocent acts, when shown to be a part and parcel of the overall combination, are held to


                                                 6
                   PLAINTIFFS’ OPPOSITION TO ALBERTSONS’ MOTION TO DISMISS
          Case 3:23-cv-00459-VC Document 72 Filed 05/11/23 Page 7 of 9




be illegal. dis was made plain by the Supreme Court in American Tobacco:

       “It is not the form of the combination or the particular means used but the result to be
       achieved that the statute condemns. It is not of importance whether the means used to
       accomplish the unlawful objective are in themselves lawful or unlawful. Acts done to
       give effect to the conspiracy may be in themselves wholly innocent acts. Yet, if they
       are part of the sum of the acts which are relied upon to effectuate the conspiracy
       which the statute forbids, they come within its prohibition. No formal agreement is
       necessary to constitute an unlawful conspiracy. Often crimes are a matter of
       inference deduced from the acts of the person accused and done in pursuance of a
       criminal purpose. Where the conspiracy is proved, as here, from the evidence of the
       action taken in concert by the parties to it, it is all the more convincing proof of an
       intent to exercise the power of exclusion acquired through that conspiracy. The
       essential combination or conspiracy in violation of the Sherman Act may be found in
       a course of dealing or other circumstances as well as in an exchange of words. United
       States v. Schrader's Son,252 U.S. 85.” American Tobacco Co. v. United States, 328
       U.S. 781, 809-810 (1946)
       dis principal was reconﬁrmed in Continental Ore where acts in furtherance of a

violation become part and parcel of the violation because it is the duty of the law to view the

conduct of defendants as a whole, and not simply in its separate parts.


       “It is apparent from the foregoing that the Court of Appeals approached
       Continental’s claims as if they were five completely separate and unrelated lawsuits.
       We think this was improper. In cases such as this, plaintiffs should be given the full
       benefit of their proof without tightly compartmentalizing the various factual
       components and wiping the slate clean after scrutiny of each. ". . . [T]he character
       and effect of a conspiracy are not to be judged by dismembering it and viewing its
       separate parts, but only by looking at it as a whole. United States v. Patten, 226 U. S.
       525, 544 . . . ; and in a case like the one before us, the duty of the jury was to look at
       the whole picture and not merely at the individual figures in it." American Tobacco
       Co. v. United States, 147 F. 2d 93, 106 (C. A. 6th Cir.).” Continental Ore Co. v.
       Union Carbide & Carbon Corp., 370 U.S. 690, 698-699 (1962).

       None of the prior courts who have addressed the dividend have considered whether a

wholly innocent act can be part of a scheme that becomes illegal. Nor did any of the prior cases

consider the dividend as part and parcel of the larger antitrust violation of Section 7 of the

Clayton Act, nor did they seek disgorgement of the dividend as a remedy.


                                                  7
                   PLAINTIFFS’ OPPOSITION TO ALBERTSONS’ MOTION TO DISMISS
          Case 3:23-cv-00459-VC Document 72 Filed 05/11/23 Page 8 of 9




                                        CONCLUSION

       Because Plaintiffs have alleged and are likely to establish that the merger is unlawful

and that plaintiffs and the public at large are threatened with irreparable harm if the merger

proceeds, and because Plaintiffs have alleged a viable Sherman Act violation by reason of

the combination within the merger agreement itself, the Court should deny Defendant’s

motion to dismiss.

Dated: May 11, 2023                 Respectfully submitted:


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                                               8
                  PLAINTIFFS’ OPPOSITION TO ALBERTSONS’ MOTION TO DISMISS
       Case 3:23-cv-00459-VC Document 72 Filed 05/11/23 Page 9 of 9




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                                       9
             PLAINTIFFS’ OPPOSITION TO ALBERTSONS’ MOTION TO DISMISS
